Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 1 of 18
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 2 of 18



       On or about April 2, 2010, Hirsch, a professional photojournalist in the business of

licensing his photographs to online, print, and television media for a fee and based in New York

City, took a photograph of a man named Justin Massler walking outside a courthouse in

Manhattan. Complaint ¶¶ 5, 8 & Ex. A (the “Photo”). Massler had gained some notoriety

because he had been accused of stalking Ivanka Trump. Id. ¶ 8. Hirsch then licensed the Photo

to the New York Post, id. ¶ 9, which included the Photo later that day in an online article entitled

“Ivanka’s stalker ordeal featured crazed talk, threats and bloody pix,” id. & Ex. B (the “Article”).

Hirsch’s name was featured in a “gutter credit” on the Photo, meaning that his name appeared in

small print beneath the caption so as to credit him as the photographer. Id. ¶ 9 & Ex. B. Hirsch

owned the copyright to the Photo, which was registered with the United States Copyright Office.

Id. ¶¶ 10–11.

       Nearly seven years later, on February 25, 2017, CBS broadcast an episode of the

television show 48 Hours titled “Stalked” on television and made the episode available online on

its website. Id. ¶¶ 12–15. One segment of the Episode focused on Massler’s history of stalking



(“In considering a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6), a
district court may consider the facts alleged in the complaint, documents attached to the
complaint as exhibits, and documents incorporated by reference in the complaint.”).

The Court also considered the video of the 48 Hours episode containing the alleged
infringement. Dkt. 15, Ex. 1 (the “Episode”). On a Rule 12(b)(6) motion, documents outside the
complaint may be considered if they are integral to the pleading or subject to judicial notice. See
Global Network Commc’ns, Inc. v. City of New York, 458 F.3d 150, 156–57 (2d Cir. 2006). The
Episode is integral to the Complaint, as it contains the alleged infringement.

The Court accepts all factual allegations in the Complaint as true, drawing all reasonable
inferences in Hirsch’s favor. See Koch v. Christie’s Int’l PLC, 699 F.3d 141, 145 (2d Cir. 2012).
But, Hirsch’s characterization of the Episode need not be credited. See Peter F. Gaito
Architecture, LLC v. Simone Development Corp., 602 F.3d 57, 64 (2d Cir. 2010) (“In copyright
infringement actions, the works themselves supersede and control contrary descriptions of them,
including any contrary allegations, conclusions or descriptions of the works contained in the
pleadings.”) (internal citations omitted).
                                                 2
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 3 of 18



behavior and the widespread news coverage it had attracted. See Episode at 8:50–13:45. In that

segment, a CBS correspondent states that Massler had “already made headlines once in 2010 for

pursuing . . . Ivanka Trump,” id. at 13:35–45, and that “it was a huge story in 2010 when Massler

targeted Trump with a barrage of ominous emails and tweets,” id. at 14:27–36. After that

comment, the segment features Massler’s attorney, who discusses Massler’s characteristics as

images of Massler flash on the screen. Id. at 14:51–15:07. Then, as the correspondent describes

Massler’s 2010 arrest, two images of Massler appear. The first is apparently of Massler speaking

in a courtroom. Id. at 15:09–10. The second is a screenshot of the Article, including the

headline and the Photo at issue here. Id. at 15:12–14. Additional images of Trump and Massler

are then displayed. Id. at 15:15–30. At 15:32, a different headline from the New York Post is

flashed, this time with no accompanying image. Id. at 15:32. At 15:45, another headline and

photo appear, again of Massler in a courtroom. The segment ends with further on-camera

discussion between the CBS correspondent and Massler’s attorney. Id. at 15:45–16:02.

       The screenshot of the Article used in the Episode contained the Photo as well as the New

York Post headline. Compare id. at 15:12–14 with the Article. The screenshot was on screen for

approximately two seconds. Id. at 15:12–14. It slowly rotated clockwise the entire time it was

on screen, starting slightly skewed to the left and ending slightly skewed to the right. Id. Only

roughly the top half of the Photo appears in the image; it appears to be a cropped screenshot of

the Article headline from the online presentation of the Article. Compare id. with the Article.

Because the bottom half or so of the Photo is cropped out, Hirsch’s gutter credit was excised and

was not shown in the Episode. See Episode at 15:12–14.

       CBS did not have Hirsch’s consent, or a license, to use the Photo. Id. ¶¶ 13, 15.

       B.      Procedural History



                                                 3
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 4 of 18



       Hirsch filed the Complaint on March 13, 2017. Dkt. 1. On May 5, 2017, CBS filed a

motion to dismiss, Dkt. 13, along with a memorandum of law, Dkt. 14, and a declaration by

counsel in support attaching a full copy of the Episode, Dkt. 15, Ex. 1. On May 26, 2017, Hirsch

filed a brief in opposition. Dkt. 19. On June 2, 2017, CBS filed a reply, Dkt. 20, and a

declaration by counsel in support, Dkt. 21. On June 14, 2017, the Court held an initial

conference in this case.

II.    Applicable Legal Standards

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must plead “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678. “Where a complaint pleads facts that are ‘merely consistent

with’ a defendant’s liability, it ‘stops short of the line between possibility and plausibility of

entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).

       In considering a motion to dismiss, a district court must “accept[] all factual claims in the

complaint as true, and draw[] all reasonable inferences in the plaintiff’s favor.” Lotes Co. v. Hon

Hai Precision Indus. Co., 753 F.3d 395, 403 (2d Cir. 2014) (quoting Famous Horse Inc. v. 5th

Ave. Photo Inc., 624 F.3d 106, 108 (2d Cir. 2010) (internal quotation marks omitted)). However,

this tenet is “inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678. “Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

“[R]ather, the complaint’s [f]actual allegations must be enough to raise a right to relief above the

speculative level, i.e., enough to make the claim plausible.” Arista Records, LLC v. Doe 3, 604

F.3d 110, 120 (2d Cir. 2010) (quoting Twombly, 550 U.S. at 555, 570) (internal quotation marks



                                                   4
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 5 of 18



omitted) (emphasis in Arista Records). A complaint is properly dismissed where, as a matter of

law, “the allegations in [the] complaint, however true, could not raise a claim of entitlement to

relief.” Twombly, 550 U.S. at 558.

III.   Discussion

       Hirsch brings two claims under the Act: for (1) copyright infringement under 17 U.S.C.

§§ 106, 501, and (2) removal of copyright management information in violation of 17 U.S.C.

§ 1202. Complaint ¶¶ 16–32. As relief, Hirsch seeks (1) a judgment of infringement; (2) actual

damages or statutory damages of up to $150,000 per copyrighted work as authorized by 17

U.S.C. § 504; (3) an accounting of CBS’s unlawful profits; and (4) attorneys’ fees. Id at 6–7

(“Prayer for Relief”).

       CBS moves to dismiss on the grounds that (1) its use of Hirsch’s work was de minimis

such that, as a matter of law, it cannot support a violation of the Act (2) its use was a fair use;

and (3) Hirsch has failed to plausibly allege a claim for removal of copyright management

information. For the following reasons, the Court denies CBS’s motion.

       A.      Copyright Infringement—De Minimis

       CBS first argues that its use of the Photo was de minimis such that, as a matter of law, it

cannot support a claim for copyright infringement.

       “To prevail on a claim of copyright infringement, the plaintiff must demonstrate both (1)

ownership of a valid copyright and (2) infringement of the copyright by the defendant.” Yurman

Design, Inc. v. PAJ, Inc., 262 F.3d 101, 108–09 (2d Cir. 2001). To establish infringement of the

copyright, “a plaintiff with a valid copyright must demonstrate that: (1) the defendant has

actually copied the plaintiff’s work; and (2) the copying is illegal because a substantial similarity

exists between the defendant’s work and the protectible elements of plaintiff’s.” Peter F. Gaito,



                                                   5
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 6 of 18



602 F.3d at 63 (quotation omitted); see also Jorgensen v. Epic/Sony Records, 351 F.3d 46, 51

(2d Cir. 2003) (“To satisfy the second element of an infringement claim—the ‘unauthorized

copying’ element—a plaintiff must show both that his [or her] work was ‘actually copied’ and

that the portion copied amounts to an ‘improper or unlawful appropriation.’” (quotation

omitted)).

        Substantial similarity exists between the defendant’s work and the protected aspects of

the plaintiff’s work when the copying at issue “is quantitatively and qualitatively sufficient to

support the legal conclusion that infringement (actionable copying) has occurred.” Ringgold v.

Black Entm’t Television, Inc., 126 F.3d 71, 75 (2d Cir. 1997).

        “The qualitative component concerns the copying of expression, rather than ideas, a

distinction that often turns on the level of abstraction at which the works are compared.” Id. It

turns on whether “an ordinary observer, unless he [or she] set out to detect the disparities, would

be disposed to overlook them, and regard the aesthetic appeal as the same.” Yurman Design, 262

F.3d at 111 (quotations omitted). Courts applying this test—the “ordinary observer test”—ask

whether “an average lay observer would recognize the alleged copy as having been appropriated

from the copyrighted work.” Knitwaves, Inc. v. Lollytogs Ltd. (Inc.), 71 F.3d 996, 1002 (2d Cir.

1995) (quotation omitted); see also Ringgold, 126 F.3d at 77 (applying “average lay observer”

test when evaluating qualitative component).

        The qualitative component of the substantial similarity inquiry is satisfied here. CBS

does not argue otherwise. The image displayed in the Episode is an exact copy of the Photo, and

even though a fair amount of the Photo is cropped out, the average lay observer would recognize

it as a copy.




                                                 6
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 7 of 18



       As to the quantitative component, it “generally concerns the amount of the copyrighted

work that is copied, a consideration that is especially pertinent to exact copying.” Ringgold, 126

F.3d at 75. The copying of a work does not constitute unlawful infringement when the copying

is de minimis, that is, copying that “has occurred to such a trivial extent as to fall below the

quantitative threshold of substantial similarity[.]” See id. at 74–75.2

       In cases involving visual works, determining whether the “quantitative threshold” of

substantial similarity has been crossed, supporting liability for copyright infringement, depends

on the “observability of the copyrighted work in the allegedly infringing work.” Sandoval v.

New Line Cinema Corp., 147 F.3d 215, 217 (2d Cir. 1998). Observability, in turn, depends on

“the length of time the copied work is observable in the allegedly infringing work and such

factors as focus, lighting, camera angles, and prominence.” Ringgold, 126 F.3d at 75; see also

Gottlieb Dev. LLC v. Paramount Pictures Corp., 590 F. Supp. 2d 625, 632 (S.D.N.Y. 2008)

(same). Because substantial similarity “typically presents an extremely close question of fact . . .

questions of non-infringement have traditionally been reserved for the trier of fact.” Peter F.

Gaito, 602 F.3d at 63 (citing Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 911 (2d Cir.

1980) (“[T]he question of infringement is generally resolved by the fact-finder’s prediction of

the probable reaction of a hypothetical ‘ordinary observer.’”)).

       Nonetheless, as the Second Circuit has “repeatedly recognized,” in an appropriate case, a

district court may resolve the issue of substantial similarity as a matter of law, “‘either because



2
  The de minimis nature of an act of infringement can support dismissal on two other theories,
neither germane here. A de minimis violation can occur when there is “a technical violation of a
right so trivial that the law will not impose legal consequences”; this implicates violations so
trivial that they are “rarely litigated.” The de minimis nature of a violation also comes into play
when a defendant claims fair use of a copyright and argues that the copyrighted “portion used
was minimal and the use was so brief and indistinct as to tip the third fair use factor decisively
against the plaintiff.” Ringgold, 126 F.3d at 74–75.
                                                  7
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 8 of 18



the similarity between the two works concerns only non-copyrightable elements of the plaintiff’s

work, or because no reasonable jury, properly instructed, could find that the two works are

substantially similar.’” Peter F. Gaito, 602 F.3d at 63 (quoting Warner Bros. Inc. v. Am. Broad.

Cos., 720 F.2d 231, 240 (2d Cir. 1983)). When visual works are at issue and (as here) are

attached to the pleadings or otherwise cognizable on a motion to dismiss, the Court must

determine whether a reasonable jury could find substantial similarity based upon a comparison of

the two works; on this point, “no discovery or fact-finding is typically necessary.” Id.; see also

Gottlieb, 590 F. Supp. 2d at 632; Le Book Publ’g, Inc. v. Black Book Photography, Inc., 418 F.

Supp. 2d 305, 309–10 (S.D.N.Y. 2005). When no reasonable jury could find substantial

similarity, the claim must be dismissed, because the copying claimed by the plaintiff would not

“plausibly give rise to an entitlement to relief,” Iqbal, 556 U.S. at 679.

       Here, having conducted such an inquiry, the Court concludes that a reasonable jury could

find substantial similarity between the Photo and CBS’s alleged copying of it in the Episode; that

the copying was not, as a matter of law, de minimis; and that CBS infringed Hirsch’s copyright.

       The Court’s analysis of the “quantitative component” of substantial similarity turns on

the observability of the Photo in the Episode. Two Second Circuit precedents provide guideposts

for the Court’s analysis. In Ringgold, the set of a television show was decorated with a poster of

a copyrighted painting. The painting appeared in nine separate shots, never for less than 1.86 or

more than 4.16 seconds, covering an aggregate duration of 26.75 seconds. Ringgold, 126 F.3d at

76–77. In the longest segment, which lasted more than four seconds, “nearly all of the poster”

was visible and its details “plainly observable, even though not in exact focus.” Id. The Second

Circuit held that the four-second segment, “[reinforced] by the briefer segments in which smaller

portions [of the poster were] visible . . . [was] not de minimis copying” as a matter of law. Id. at



                                                  8
         Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 9 of 18



77. In contrast, the Second Circuit held in Sandoval that the copying at issue was below the

quantitative threshold for substantial similarity because the offending background photographs

were “filmed at such distance and so out of focus that a typical program viewer would not

discern any decorative effect that the work of art contributes to the set.” Sandoval, 147 F.3d at

218. The photographs were “displayed in poor lighting and at great distance” and appeared

“fleetingly and [were] obscured, severely out of focus, and virtually unidentifiable[.]” Id.

        This case is decidedly closer to Ringgold than Sandoval, such that a finding of de minimis

use as a matter of law is not warranted. The observability factors of focus, lighting, camera

angles, and prominence all disfavor a finding of de minimis infringement. The Episode displays

a substantial proportion of the Photo in clear focus, and the Photo occupies much, although not

all, of the screen. To be sure, a finder of fact must also consider the length of time the copied

work is observable in the allegedly infringing work—here, roughly two seconds. But the Court

is not aware of any authority that such a brief period alone defeats, as a matter of law, a finding

of substantial similarity.

        The case law instead is against CBS on this point. First, the Second Circuit has held that

“the quantitative analysis of two works must always occur in the shadow of their qualitative

nature.” Nihon Keizai Shimbun, Inc. v. Comline Bus. Data, Inc., 166 F.3d 65, 71 (2d Cir. 1999).

The qualitative assessment here, as noted, disfavors dismissal. Second, Ringgold suggested that

a “substantially full-screen” display of an image, even lasting less than three seconds, would not

be de minimis, Ringgold, 126 F.3d at 77, and several courts in this district have held similarly

prominent infringements lasting less than three seconds not to constitute de minimis copying.

See Dyer v. V.P. Records Retail Outlet, Inc., No. 05 Civ. 6583 (WHP), 2008 WL 2876494, at *4

(S.D.N.Y. July 24, 2008) (denying summary judgment on grounds of de minimis copying for



                                                 9
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 10 of 18



shots in which offending images “take up most of the screen” for “almost three seconds”);

Twentieth Century Fox Film Corp. v. Marvel Enterprises, Inc., 155 F. Supp. 2d 1, 46 (S.D.N.Y.

2001), remanded on other grounds, 277 F.3d 253 (2d Cir. 2002) (finding likelihood that

prominent display of several copyrighted clips, which each lasted less than three seconds, was

not de minimis). Finally, the cases on which CBS relies did not base their findings of de minimis

copying solely on the length of time the infringing material was observable. See, e.g., Gottlieb,

590 F. Supp. 2d at 632–33 (finding de minimis copying where infringing material “is always in

the background,” “never appears by itself or in a close-up,” is either “out of focus or obscured,”

and only displayed for “a few seconds at a time”).

       Accordingly, a reasonable jury could find that CBS’s use of the Photo met the test of

substantial quantitative similarity and was not de minimis as a matter of law.

       B.      Copyright Infringement—Fair Use

       CBS next argues that CBS’s use of the Photo, as a matter of law, falls within the fair use

defense to copyright infringement, requiring dismissal.

               1.       Governing Standards

       The Act provides that “the fair use of a copyrighted work . . . is not an infringement of

copyright.” 17 U.S.C. § 107. As the purpose of copyright is “[t]o promote the Progress of

Science and useful Arts,” U.S. Const., Art. I, § 8, cl. 8, the Act bars liability for copyright

infringement when the reproduction or copying of a copyrighted work is undertaken “for

purposes such as criticism, comment, news reporting, teaching . . . scholarship, or research,” 17

U.S.C. § 107. The fair use defense thus “allows the public to draw upon copyrighted materials

without the permission of the copyright holder in certain circumstances.” Authors Guild, Inc. v.

HathiTrust, 755 F.3d 87, 95 (2d Cir. 2014).



                                                  10
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 11 of 18



       The Act sets out four factors to consider in determining whether a defendant’s use of a

copyrighted work is a fair use. These are “(1) the purpose and character of the use, including

whether such use is of a commercial nature or is for nonprofit educational purposes; (2) the

nature of the copyrighted work; (3) the amount and substantiality of the portion used in relation

to the copyrighted work as a whole; and (4) the effect of the use upon the potential market for or

value of the copyrighted work.” 17 U.S.C. § 107. These four factors are non-exclusive; and

“[a]lthough defendants bear the burden of proving that their use was fair, they need not establish

that each of the factors set forth in § 107 weighs in their favor.” NXIVM Corp. v. Ross Inst., 364

F.3d 471, 476–77 (2d Cir. 2004) (internal citation omitted). There are no bright line rules to

determine whether a use was a fair use; instead the analysis is to be done on a case-by-case basis,

and all the factors “are to be explored, and the results weighed together, in light of the purposes

of copyright.” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 577–78 (1994).

       The first statutory factor, the purpose and character of the use, is “[t]he heart of the fair

use inquiry.” Blanch v. Koons, 467 F.3d 244, 251 (2d Cir. 2006) (quotation omitted). The

essence of this factor is whether the copier’s use is “transformative,” that is, “whether the new

work merely ‘supersedes the objects’ of the original creation, or instead adds something new,

with a further purpose or different character, altering the first with new expression, meaning, or

message[.]” Cariou v. Prince, 714 F.3d 694, 705 (2d Cir. 2013) (quoting Campbell, 510 U.S. at

579). If the original “is used as raw material, transformed in the creation of new information,

new aesthetics, new insights and understandings—that is the very type of activity that the fair use

doctrine intends to protect[.]” Castle Rock Entm’t, Inc. v. Carol Publ’g Grp., Inc., 150 F.3d 132,

137 (2d Cir. 1998) (quotation omitted). As such, copying is transformative if it “uses the

copyrighted material itself for a purpose, or imbues it with a character, different from that for



                                                 11
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 12 of 18



which it was created.” TCA Television Corp. v. McCollum, 839 F.3d 168, 180 (2d Cir. 2016),

cert. denied, 137 S. Ct. 2175 (2017). Also relevant to this inquiry is whether the use falls within

the categories identified by Congress in § 107—criticism, comment, news reporting, teaching,

scholarship, and research—as these present the “most appropriate” circumstances for a finding of

fair use. TCA, 839 F.3d at 179. The statute also requires a court to consider whether the use is

commercial, although “the more transformative the new work, the less will be the significance of

other factors, like commercialism, that may weigh against a finding of fair use.” Campbell, 510

U.S. at 579 (citation omitted); see also Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 756

F.3d 73, 83 (2d Cir. 2014) (assigning “little weight” to commercial factor and recognizing that

nearly all news organizations are commercial enterprises).

       The second factor, “the nature of the copyrighted work,” turns on “(1) whether the work

is expressive or creative, with a greater leeway being allowed to a claim of fair use where the

work is factual or informational, and (2) whether the work is published or unpublished, with the

scope for fair use involving unpublished works being considerably narrower.” Cariou, 714 F.3d

at 709–10 (quotation and alteration omitted). Courts in the Second and other Circuits have found

that when the original photographic work was created for news-gathering purposes, this factor

favors fair use. See, e.g., N. Jersey Media Grp. Inc. v. Pirro, 74 F. Supp. 3d 605, 620 (S.D.N.Y.

2015) (“Courts analyzing . . . photographic works created for news gathering or other non-artistic

purposes have found this factor to weigh in favor of fair use.”); Katz v. Google Inc., 802 F.3d

1178, 1183 (11th Cir. 2015) (holding photo at issue was factual or informational because it was

“merely a candid shot in a public setting”). This factor, however, is “rarely found to be

determinative.” On Davis v. The Gap, Inc., 246 F.3d 152, 175 (2d Cir. 2001).




                                                12
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 13 of 18



       As to the third factor, “the amount and substantiality of the portion used,” “[i]n general,

the more of a copyrighted work that is taken, the less likely the use is to be fair.” Swatch, 756

F.3d at 89 (quotation omitted). Courts consider not just the bare proportion of the original work

used, but also “whether the quantity and value of the materials used are reasonable in relation to

the purpose of the copying.” Cariou, 714 F.3d at 710 (quotation and alteration omitted).

       Finally, the fourth factor considers the effect of the use upon the potential market for the

original. The inquiry here is whether the secondary use “usurps the market of the original work.”

Blanch, 467 F.3d at 258 (quotation omitted). Infringers usurp the market for copyrighted works

when the infringer’s target audience and the infringing content are the same as the original.

Cariou, 714 F.3d at 709. Courts must also consider the harm to derivative markets for a

copyrighted work, such as a market for licensing revenues. TCA, 839 F.3d at 186. Whether the

secondary use is transformative is important to the usurpation analysis, as “[t]he more

transformative [the secondary use], the less likel[y] that [it] substitutes for the original.” Cariou,

714 F.3d at 709.

       “The determination of fair use is a mixed question of fact and law.” Swatch, 756 F.3d at

81. The Second Circuit has noted that in the context of the Lanham Act resolution of a fair use

defense for use of a trademark “often requires consideration of facts outside of the complaint and

is thus inappropriate to resolve on a motion to dismiss.” Kelly-Brown v. Winfrey, 717 F.3d 295,

308 (2d Cir. 2013). The same principle holds true in copyright cases, because determination of

fair use of a copyright is a similarly “‘open-ended and context-sensitive inquiry’” that is “fact-

driven[.]” LaChapelle v. Fenty, 812 F. Supp. 2d 434, 442 (S.D.N.Y. 2011) (quoting Blanch, 467

F.3d at 251); see also Campbell, 510 U.S. at 577 (“the [fair use] statute, like the doctrine it

recognizes, calls for case-by-case analysis”). The Second Circuit has recognized, however, that



                                                  13
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 14 of 18



there are circumstances when “the only two pieces of evidence needed to decide the question of

fair use” are the original work and the allegedly infringing work; in these circumstances,

resolution of the issue as a matter of law may be appropriate on a motion to dismiss. Cariou,

714 F.3d at 707–08 (quoting Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690

(7th Cir. 2012)). Such cases, however, are uncommon. Even in Brownmark, which upheld the

lower court’s finding of a parody to be an obvious fair use, the Seventh Circuit chose construe

the motion on appeal as one for summary judgment. 682 F.3d at 692. As a court in this district

has noted, whatever the theoretical possibility of resolving fair use on a motion to dismiss, “there

is a dearth of cases granting such a motion.” BWP Media USA, Inc. v. Gossip Cop Media, LLC,

87 F. Supp. 3d 499, 505 (S.D.N.Y. 2015).

               2.      Discussion

       Applying these familiar principles, the Court holds that CBS’s claim of fair use cannot be

resolved on the motion to dismiss. Whether or not this defense ultimately proves meritorious,

CBS’s fair use of the Photo has not been “so clearly established by the complaint as to support

dismissal,” TCA, 839 F.3d at 178.

       Central to this conclusion, whether CBS’s copying of the Photo was a fair use cannot be

resolved with assurance on a visual comparison of the works alone. In this respect, Cariou and

Brownmark are distinguishable, because the circumstances there enabled such an early-stage

comparison. In Cariou, a “well-known appropriation artist” had altered photographs, previously

published by another artist, by painting over them. Cariou, 714 F.3d at 699–703. In

Brownmark, the issue was whether the animated television show South Park had presented a

legitimate parody (and thus a protected fair use) of a viral internet video. Brownmark, 682 F.3d

at 689. In each case, therefore, the question of transformative use—the heart of the fair use



                                                14
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 15 of 18



inquiry—turned on differences between the original work and the allegedly infringing work that

were apparent on the face of the two works.

       In contrast, here, the fair use inquiry does not turn on visual differences. Instead, CBS

simply reproduced a substantial proportion of the Photo, inserting it into a broadcast episode of

48 Hours. CBS’s claim that appropriating the Photo for this purpose was fair use will therefore

turns on an assessment of the context and content of the Episode. One issue will be whether

CBS’s use qualifies as “news reporting” or “commentary,” and thus a favored use under the

statute. While the Court could hazard an assessment of this factor based on the four corners of

the Episode, discovery of the Episode’s overall context and content will enable a more careful

assessment of how and whether the Episode’s use of the Photo “serv[ed] the public by providing

access to important . . . information,” Swatch, 756 F.3d at 86. Relatedly, CBS’s claim that its use

of the Photo was “transformative” is not self-evidently correct based on a visual inspection. CBS

included the Photo in the Episode, making no changes in it except the apparently non-substantive

change of cropping it. Its inclusion of the heart of the Photo in a discussion of events from some

seven years ago, does not so obviously “imbue [the Photo] with a character . . . different from

that for which it was created,” TCA, 839 F.3d at 180, as to permit a finding, on the pleadings, of

transformative character. Discovery is necessary to resolve that claim. Finally, further

development of the record is warranted, to clarify what, if any, new insights and understandings

were created by CBS’s use of the Photo here. Newsworthiness of the subject matter is not

enough. See Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539, 557 (1985) (“The

promise of copyright would be an empty one if it could be avoided merely by dubbing the

infringement a fair use ‘news report.’”). As to these and potentially other salient aspects of the




                                                 15
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 16 of 18



fact-intensive fair use inquiry, the pleadings and cognizable materials—limited to the Complaint,

the Photo and the Episode—do not contain enough factual content to enable a solid assessment.

       Because the Court cannot conclude as a matter of law that CBS’s use of the Photo was a

fair use or (as reviewed above) de minimis, the Court must deny CBS’s motion to dismiss the

claim for copyright infringement.

       C.      Removal of Copyright Management Information

       CBS also moves to dismiss Hirsch’s claim for removal of copyright management

information (“CMI”) under the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C.

§ 1202(b). The Court denies this motion.

       Section 1202(b) provides, in relevant part, that “[n]o person shall, without the authority

of the copyright owner or the law . . . intentionally remove or alter any copyright management

information . . . knowing, [or] having reasonable grounds to know, that it will induce, enable,

facilitate, or conceal an infringement of any right under this title.” 17 U.S.C. § 1202(b). “To

establish a violation under subsection 1202(b), a plaintiff must show ‘(1) the existence of CMI

on the [infringed work]; (2) removal and/or alteration of that information; and (3) that the

removal and/or alteration was done intentionally.’” E.g., Gattoni v. Tibi, LLC, No. 16 Civ. 7527

(RWS), 2017 WL 2313882, at *4 (S.D.N.Y. May 25, 2017) (quoting BanxCorp v. Costco

Wholesale Corp., 723 F. Supp. 2d 596, 609 (S.D.N.Y. 2010) (collecting cases)). The parties do

not dispute either that Hirsch’s gutter credit qualifies as CMI, or that it was cropped out of the

Photo as used in the Episode.

       CBS argues that the Complaint fails to plead sufficient facts to give rise to a plausible

inference of knowing removal and intent to facilitate infringement. The Complaint’s allegations

of CBS’s knowing removal are indeed sparse. Hirsch alleges only that on “information and



                                                 16
        Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 17 of 18



belief,” CBS “intentionally and knowingly removed copyright information identifying Plaintiff

as the photographer of the Photograph,” Complaint ¶ 27, and that “[u]pon information and belief,

the . . . removal of said [CMI] was made by Defendants intentionally, knowingly, and with the

intent to induce, enable, facilitate, or conceal their infringement of Plaintiff’s copyright in the

Photograph,” id. ¶ 30.

       Nonetheless, these allegations are sufficient to state a claim for removal of CMI. Courts

must be “lenient in allowing scienter issues . . . to survive motions to dismiss.” In re DDAVP

Direct Purchaser Antitrust Litig., 585 F.3d 677, 693 (2d Cir. 2009) (quotation omitted); accord

Fischer v. Forrest, No. 14 Civ. 1304 (PAE), 2015 WL 195822, at *9 (S.D.N.Y. Jan. 13, 2015).

Here, the conduct pled supplies a fair basis on which to infer this element. Review of the

Episode clearly reveals a cropping out of Hirsch’s gutter credit from the Photo. The amount of

material cropped out was minimal, and within it, Hirsch’s photo credit was prominent. It is

therefore fairly inferred, at the pleading stage, that the CBS employee(s) who excised Hirsch’s

photo credit did so aware that a photo credit was being eliminated and that the photo as cropped

would therefore appear on a televised episode. The facts adduced in discovery, of course, may

place CBS’s elimination of Hirsch’s photo credit in a more benign light; they may, for example,

reveal the cropping to have been inadvertent. But, making all reasonable inferences in Hirsch’s

favor, as the Court must, the Complaint’s allegations that the removal was intentional and

knowing and undertaken in support of CBS’s infringement of the Photo give rise to a plausible

inference of intentional removal of CMI. See BanxCorp., 723 F. Supp. 2d at 610 (“Providing an

actual example of the allegedly infringing ad is obviously more than a conclusory allegation.”);

Devocean Jewelry LLC v. Associated Newspapers Ltd., No. 16 Civ. 2150 (KMW), 2016 WL

6135662, at *2 (S.D.N.Y. Oct. 19, 2016) (“Plaintiff has done enough by alleging that Defendant



                                                  17
Case 1:17-cv-01860-PAE Document 24 Filed 08/04/17 Page 18 of 18
